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        Attorneys for Plaintiff
    6   THERESA BROOKE
    7                             UNITED STATES DISTRICT COURT
    8
                              CENTRAL DISTRICT OF CALIFORNIA
    9
   10
        THERESA BROOKE, a married woman                 Case No: 2:21-cv-1359
   11   dealing with her sole and separate claim,
                                                        NOTICE OF VOLUNTARY
   12                        Plaintiff,                 DISMISSAL WITH PREJUDICE
   13
        vs.
   14
        RT-PASAD HOTEL PARTNERS LP,
   15
   16                         Defendant.
   17
               NOTICE IS HEREBY GIVEN that Plaintiff Theresa Brooke dismisses the above
   18
        action with prejudice; each party to bear own costs and fees.
   19
   20          RESPECTFULLY SUBMITTED this 25th day of April, 2021.
   21
   22                                               /s/ Peter Kristofer Strojnik
                                                    Peter Kristofer Strojnik (242728)
   23
                                                    Attorneys for Plaintiff
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